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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                                       Case No. 3:21-mj-30/HTC
TRISTAN CHANDLER STEVENS
_____________________________/

                   ORDER OF RELEASE ON CONDITIONS

      The Court conducted a detention hearing in this matter on February 10,

2021. The Government’s motion to detain is denied after hearing. Defendant will

be immediately released from custody and will be released subject to the terms and

conditions separately set out in the Order Setting Conditions of Release.

      DONE AND ORDERED this 10th day of February 2021.

                                /s/   Hope Thai Cannon
                                    Hope Thai Cannon
                                UNITED STATES MAGISTRATE JUDGE
